                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

CYNTHIA FREDA-ANNE SWEENEY,

       Plaintiff,

v.
                                              CASE NO. 6:22-cv-1966-PGB-LHP
EXPERIAN INFORMATION
SOLUTIONS, INC., HEALTHCARE
REVENUE RECOVERY GROUP
d/b/a/ ARS ACCOUNT RESOLUTION
SERVICES and MIDLAND FUNDING
LLC,

       Defendants.


                    ANSWER AND AFFIRMATIVE DEFENSES

      COMES         NOW   Defendant   Experian    Information   Solutions,   Inc.,

(“Experian”) by and through its undersigned counsel, and answers Plaintiff

Cynthia Freda-Anne Sweeney (“Plaintiff”) Complaint (“Complaint”) as follows:

                          JURISDICTION & VENUE

      1.     In response to paragraph 1 of the Complaint, Experian admits that

Plaintiff alleges this Court has jurisdiction pursuant to 28 U.S.C. § 1367 and 15

U.S.C. § 1681 et seq. Experian states that this is a legal conclusion that is not

subject to denial or admission.

      2.     In response to paragraph 2 of the Complaint, Experian admits that

Plaintiff alleges that venue is proper in this District because the acts and

transactions occurred in this District and Defendants transaction business in this


                                   Page 1 of 31
District. Insofar as the allegations relate to Experian, Experian states that this is a

legal conclusion that is not subject to denial or admission.

      3.     In response to paragraph 3 of the Complaint, Experian admits that

Plaintiff purports to sue Defendants for allegedly violating the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.

      4.     In response to paragraph 4 of the Complaint, Experian admits that

Plaintiff purports to sue Defendants for allegedly violating the Fair Debt

Collections Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                     PARTIES

      5.     In response to paragraph 5 of the Complaint, Experian is without

knowledge of information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      6.     In response to paragraph 6 of the Complaint, Experian is without

knowledge of information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      7.     In response to paragraph 7 of the Complaint, Experian admits that it

is a consumer reporting agency as defined by 15 U.S.C. § 1681a(f). Experian also

admits that it is authorized to do business in the State of Florida through its

registered agent, CT Corporation System, 1200 South Pine Island Road,

Plantation, Florida 33324.     Except as specifically admitted, Experian denies,


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generally and specifically, each and every remaining allegation of paragraph 12 of

the Complaint.

      8.     In response to paragraph 8 of the Complaint, Experian admits that it

is a consumer reporting agency as defined by 15 U.S.C. § 1681a(f). Experian also

admits that it issues consumer reports as defined by 15 U.S.C. § 1681a(d). Except

as specifically admitted, Experian denies, generally and specifically, each and every

remaining allegation in paragraph 8 of the Complaint relating to Experian.

      9.     In response to paragraph 9 of the Complaint, Experian admits that it

issues consumer reports as defined by 15 U.S.C. § 1681a(d). Except as specifically

admitted, Experian denies, generally and specifically, each and every remaining

allegation in paragraph 9 of the Complaint relating to Experian.

      10.    Paragraph 10 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      11.    Paragraph 11 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.




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      12.    Paragraph 12 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      13.    Paragraph 13 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      14.    Paragraph 14 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      15.    Paragraph 15 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

                             FACTUAL ALLEGATIONS




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      16.     Experian incorporates its responses to paragraphs 1 through 15 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

                          ARS Dispute and Alleged Violation

      17.     In response to paragraph 17 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      18.     Paragraph 18 of the Complaint relates, in part, to the conduct of other

Defendants.     Insofar as the allegations relate to Experian, Experian denies,

generally and specifically, each and every allegation contained therein. Insofar as

the allegations relate to other Defendants, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      19.     In response to paragraph 19 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      20.     In response to paragraph 20 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FDCPA.

Experian affirmatively states that the FDCPA speaks for itself and, on that basis,

denies any allegations of paragraph 20 inconsistent therewith.

      21.     In response to paragraph 21 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.




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      22.    Paragraph 22 of the Complaint relates, in part, to the conduct of other

Defendants. Insofar as the allegations relate to Experian, Experian admits it

received a dispute from Plaintiff on July 19, 2022. Except as specifically admitted,

Experian denies, generally and specifically, each and every remaining allegation in

paragraph 22 of the Complaint relating to Experian. Insofar as the allegations

relate to other Defendants, Experian is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained therein and,

on that basis, denies, generally and specifically, each and every allegation

contained therein.

      23.    In response to paragraph 23 of the Complaint, Experian admits that

Experian forwarded Plaintiff’s dispute to Defendant ARS. Except as specifically

admitted, Experian denies, generally and specifically, each and every remaining

allegation of paragraph 23 of the Complaint.

      24.    In response to paragraph 24 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      25.    In response to paragraph 25 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      26.    In response to paragraph 26 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      27.    In response to paragraph 27 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of Wilhelm v.

Credico, Inc., 519 F.3d 416 (8th Cir. 2008). Experian affirmatively states that the


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case speaks for itself and, on that basis, denies any allegations of paragraph 27

inconsistent therewith. Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 27 of the

Complaint.

      28.    In response to paragraph 28 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the Federal Trade

Commission’s December 1988 Staff Commentary on the [FDCPA] (“Staff

Commentary”). Experian states that the Staff Commentary speaks for itself and,

on that basis, denies any allegations of paragraph 28 inconsistent therewith.

Except as specifically admitted, Experian denies, generally and specifically, each

and every remaining allegation of paragraph 28 of the Complaint.

      29.    In response to paragraph 29 of the Complaint, Experian admits that

the allegations contained therein appear to set forth portions of Jacques v.

Solomon & Solomon P.C., 2012 U.S. Dist. LEXIS 118092, ** 11 (D. Del. 2012), Edeh

v. Aargon Collection Agency, LLC, 2011 U.S. Dist. LEXIS 79160, *10-11 (D. Minn.

2011), Benson v. Med—Rev Recoveries, Inc. (In re Benson), 445 B.R. 445, 449-50

(Bankr. E.D.Pa. 2010), Kinel v. Sherman Acquisition II LP, 2006 U.S. Dist. LEXIS

97073, *57 (S.D.N.Y. 2006) and Black v. Asset Acceptance, LLC, 2005 U.S. Dist.

LEXIS 43264, *13 (N.D. Ga. 2005). Experian affirmatively states that the cases

speak for themselves and, on that basis, denies any allegations of paragraph 29

inconsistent therewith. Except as specifically admitted, Experian denies, generally




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and specifically, each and every remaining allegation of paragraph 29 of the

Complaint.

      30.     Paragraph 30 of the Complaint relates wholly to the conduct of

another Defendant. To the extent a response from Experian is required, Experian

is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained therein and, on that basis, denies, generally and

specifically, each and every allegation contained therein.

      31.     Paragraph 31 of the Complaint relates, in part, to the conduct of other

Defendants.     Insofar as the allegations relate to Experian, Experian denies,

generally and specifically, each and every allegation contained therein. Insofar as

the allegations relate to other Defendants, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      32.     In response to paragraph 32 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

                       Midland Dispute and Alleged Violation

      33.     In response to paragraph 33 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.




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      34.     Paragraph 34 of the Complaint relates, in part, to the conduct of other

Defendants.     Insofar as the allegations relate to Experian, Experian denies,

generally and specifically, each and every allegation contained therein. Insofar as

the allegations relate to other Defendants, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      35.     In response to paragraph 35 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      36.     In response to paragraph 36 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FDCPA.

Experian affirmatively states that the FDCPA speaks for itself and, on that basis,

denies any allegations of paragraph 36 inconsistent therewith.

      37.     In response to paragraph 37 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      38.     Paragraph 38 of the Complaint relates, in part, to the conduct of other

Defendants. Insofar as the allegations relate to Experian, Experian admits it

received a dispute from Plaintiff on July 19, 2022. Except as specifically admitted,

Experian denies, generally and specifically, each and every remaining allegation in

paragraph 38 of the Complaint relating to Experian. Insofar as the allegations

relate to other Defendants, Experian is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained therein and,


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on that basis, denies, generally and specifically, each and every allegation

contained therein.

      39.    In response to paragraph 39 of the Complaint, Experian admits that

Experian forwarded Plaintiff’s dispute to Defendant Midland.               Except as

specifically admitted, Experian denies, generally and specifically, each and every

remaining allegation of paragraph 39 of the Complaint.

      40.    In response to paragraph 40 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      41.    In response to paragraph 41 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      42.    In response to paragraph 42 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      43.    In response to paragraph 43 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of Wilhelm v.

Credico, Inc., 519 F.3d 416 (8th Cir. 2008). Experian affirmatively states that the

case speaks for itself and, on that basis, denies any allegations of paragraph 43

inconsistent therewith. Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 43 of the

Complaint.

      44.    In response to paragraph 44 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the Staff

Commentary. Experian states that the Staff Commentary speaks for itself and, on


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that basis, denies any allegations of paragraph 44 inconsistent therewith. Except

as specifically admitted, Experian denies, generally and specifically, each and every

remaining allegation of paragraph 44 of the Complaint.

      45.     In response to paragraph 45 of the Complaint, Experian admits that

the allegations contained therein appear to set forth portions of Jacques v.

Solomon & Solomon P.C., 2012 U.S. Dist. LEXIS 118092, ** 11 (D. Del. 2012), Edeh

v. Aargon Collection Agency, LLC, 2011 U.S. Dist. LEXIS 79160, *10-11 (D. Minn.

2011), Benson v. Med—Rev Recoveries, Inc. (In re Benson), 445 B.R. 445, 449-50

(Bankr. E.D.Pa. 2010), Kinel v. Sherman Acquisition II LP, 2006 U.S. Dist. LEXIS

97073, *57 (S.D.N.Y. 2006) and Black v. Asset Acceptance, LLC, 2005 U.S. Dist.

LEXIS 43264, *13 (N.D. Ga. 2005). Experian affirmatively states that the cases

speak for themselves and, on that basis, denies any allegations of paragraph 29

inconsistent therewith. Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 45 of the

Complaint.

      46.     Paragraph 46 of the Complaint relates wholly to the conduct of

another Defendant. To the extent a response from Experian is required, Experian

is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained therein and, on that basis, denies, generally and

specifically, each and every allegation contained therein.

      47.     Paragraph 47 of the Complaint relates, in part, to the conduct of other

Defendants.     Insofar as the allegations relate to Experian, Experian denies,


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generally and specifically, each and every allegation contained therein. Insofar as

the allegations relate to other Defendants, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      48.    In response to paragraph 48 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

                           FIRST CAUSE OF ACTION
             (Alleged Willful Violation of the FCRA as to Experian)

      49.    Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      50.    In response to paragraph 50 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for willfully violating the FCRA, 15 U.S.C. § 1681

et seq. Experian denies it has violated the FCRA.

      51.    In response to paragraph 51 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      52.    In response to paragraph 52 of the Complaint, and its subparts,

Experian denies, generally and specifically, each and every allegation contained

therein.



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      53.    In response to paragraph 53 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      54.    In response to paragraph 54 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      55.    In response to paragraph 55 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

                          SECOND CAUSE OF ACTION
            (Alleged Negligent Violation of the FCRA as to Experian)

      56.    Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      57.    In response to paragraph 57 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for negligently violating the FCRA, 15 U.S.C. §

1681 et seq. Experian denies it has violated the FCRA.

      58.    In response to paragraph 58 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      59.    In response to paragraph 59 of the Complaint, and its subparts,

Experian denies, generally and specifically, each and every allegation contained

therein.




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      60.     In response to paragraph 60 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      61.     In response to paragraph 61 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

      62.     In response to paragraph 62 of the Complaint, Experian denies,

generally and specifically, each and every allegation contained therein.

                            THIRD CAUSE OF ACTION
                     (Willful Violation of the FCRA as to ARS)

      63.     Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      64.     In response to paragraph 64 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for willfully violating the FCRA, 15 U.S.C. § 1681

et seq.     Experian states that this cause of action relates wholly to another

Defendant. To the extent a response from Experian is required, Experian is

without knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      65.     In response to paragraph 65 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.



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Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 65 inconsistent therewith.

      66.    In response to paragraph 66 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 66 inconsistent therewith.

      67.    In response to paragraph 67 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 67 inconsistent therewith.

      68.    Paragraph 68 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      69.    Paragraph 69 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      70.    Paragraph 70 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge


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or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      71.    In response to paragraph 71 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      72.    Paragraph 72 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      73.    Paragraph 73 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

                          FOURTH CAUSE OF ACTION
                   (Negligent Violation of the FCRA as to ARS)

      74.    Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.



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      75.    In response to paragraph 75 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for negligently violating the FCRA, 15 U.S.C. §

1681 et seq. Experian states that this cause of action relates wholly to another

Defendant. To the extent a response from Experian is required, Experian is

without knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      76.    In response to paragraph 76 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 76 inconsistent therewith.

      77.    In response to paragraph 77 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 77 inconsistent therewith.

      78.    In response to paragraph 78 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 78 inconsistent therewith.

      79.    Paragraph 79 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained


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therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      80.    Paragraph 80 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      81.    Paragraph 81 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      82.    Paragraph 82 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      83.    In response to paragraph 83 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 83 inconsistent therewith.




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      84.    Paragraph 84 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      85.    In response to paragraph 85 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      86.    Paragraph 86 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

                              FIFTH CAUSE OF ACTION
                          (Violation of the FDCPA as to ARS)

      87.    Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      88.    Paragraph 88 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained



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therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      89.    In response to paragraph 89 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      90.    Paragraph 90 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      91.    In response to paragraph 91 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

                            SIXTH CAUSE OF ACTION
                  (Willful Violation of the FCRA as to Midland)

      92.    Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      93.    In response to paragraph 93 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for willfully violating the FCRA, 15 U.S.C. § 1681



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et seq.     Experian states that this cause of action relates wholly to another

Defendant. To the extent a response from Experian is required, Experian is

without knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      94.     In response to paragraph 94 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 94 inconsistent therewith.

      95.     In response to paragraph 95 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 95 inconsistent therewith.

      96.     In response to paragraph 96 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 96 inconsistent therewith.

      97.     Paragraph 97 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.


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      98.    Paragraph 98 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      99.    Paragraph 99 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      100. In response to paragraph 100 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      101.   Paragraph 101 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      102. Paragraph 102 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained


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therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

                          SEVENTH CAUSE OF ACTION
                  (Negligent Violation of the FCRA as to Midland)

      103. Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      104. In response to paragraph 104 of the Complaint, Experian admits that

Plaintiff asserts a cause of action for negligently violating the FCRA, 15 U.S.C. §

1681 et seq. Experian states that this cause of action relates wholly to another

Defendant. To the extent a response from Experian is required, Experian is

without knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      105. In response to paragraph 105 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 105 inconsistent therewith.

      106. In response to paragraph 106 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 106 inconsistent therewith.



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      107. In response to paragraph 107 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 107 inconsistent therewith.

      108. Paragraph 108 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      109. Paragraph 109 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      110.   Paragraph 110 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      111.   Paragraph 111 the Complaint relates wholly to another Defendant. To

the extent a response from Experian is required, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained


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therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      112.   In response to paragraph 112 of the Complaint, Experian admits that

the allegations contained therein appear to set forth a portion of the FCRA.

Experian affirmatively states that the FCRA speaks for itself and, on that basis,

denies any allegations of paragraph 112 inconsistent therewith.

      113.   Paragraph 113 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      114.   In response to paragraph 114 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      115.   Paragraph 115 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

                           EIGHTH CAUSE OF ACTION
                      (Violation of the FDCPA as to Midland)



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      116.   Experian incorporates its responses to paragraphs 1 through 48 as

though fully stated herein with the same force and effect as if the same were set

forth at length herein.

      117.   Paragraph 117 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      118.   In response to paragraph 118 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

      119.   Paragraph 119 of the Complaint relates wholly to another Defendant.

To the extent a response from Experian is required, Experian is without knowledge

or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every

allegation contained therein.

      120. In response to paragraph 120 of the Complaint, Experian is without

knowledge or information sufficient to form a belief as to the truth of the

allegations contained therein and, on that basis, denies, generally and specifically,

each and every allegation contained therein.

                     RESPONSE TO DEMAND FOR JURY TRIAL


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       121.   Experian admits that Plaintiff has demanded trial by jury on all issues

triable.

                            AFFIRMATIVE DEFENSES

       In further response to Plaintiff’s Complaint, Experian hereby asserts the

following affirmative defenses, without conceding that it bears the burden of

persuasion as to any of them.

                        FIRST AFFIRMATIVE DEFENSE
                           (Failure to State a Claim)

       The Complaint herein, and each cause of action thereof, fails to set forth facts

sufficient to state a claim upon which relief may be granted against Experian and

further fails to state facts sufficient to entitle Plaintiff to the relief sought, or to any

other relief whatsoever from Experian.

                       SECOND AFFIRMATIVE DEFENSE
                                (Immunity)

       All claims against Experian are barred by the qualified immunity of 15

U.S.C. § 1681h(e).

                        THIRD AFFIRMATIVE DEFENSE
                        (Truth/Accuracy of Information)

       All claims against Experian are barred because all information Experian

communicated to any third person regarding Plaintiff was true.



                      FOURTH AFFIRMATIVE DEFENSE
                            (Indemnification)




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      Experian is informed and believes and thereon alleges that any purported

damages allegedly suffered by Plaintiff are the results of the acts or omissions of

third persons over whom Experian had neither control nor responsibility.

                      FIFTH AFFIRMATIVE DEFENSE
                       (Failure to Mitigate Damages)

      Plaintiff has failed to mitigate his damages.

                      SIXTH AFFIRMATIVE DEFENSE
                                (Laches)

      The Complaint and each claim for relief therein are barred by laches.

                    SEVENTH AFFIRMATIVE DEFENSE
                     (Contributory/Comparative Fault)

      Experian is informed and believes and thereon alleges that any alleged

damages sustained by Plaintiff were, at least in part, caused by the actions of

Plaintiff himself and/or third parties and resulted from Plaintiff’s or third parties’

own negligence which equaled or exceeded any alleged negligence or wrongdoing

by Experian.

                     EIGHTH AFFIRMATIVE DEFENSE
                              (Estoppel)

      Any damages which Plaintiff may have suffered, which Experian continues

to deny, were the direct and proximate result of the conduct of Plaintiff. Therefore,

Plaintiff is estopped and barred from recovery of any damages.

                      NINTH AFFIRMATIVE DEFENSE
                          (Statute of Limitations)




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      Experian is informed and believes and thereon alleges that all claims for

relief in the Complaint herein are barred by the applicable statutes of limitation,

including but not limited to 15 U.S.C. § 1681p.

                     TENTH AFFIRMATIVE DEFENSE
                           (Unclean Hands)

      The Complaint, and each claim for relief therein that seeks equitable relief,

are barred by the doctrine of unclean hands.

                   ELEVENTH AFFIRMATIVE DEFENSE
                         (Punitive Damages)

      The Complaint does not allege facts sufficient to rise to the level of conduct

required to recover punitive damages, and thus all requests for punitive damages

are improper. Plaintiff’s claims for exemplary or punitive damages violate the Due

Process and Double Jeopardy Clauses of the Fifth Amendment and the Excessive

Fines Clause of the Eighth Amendment.




                   TWELFTH AFFIRMATIVE DEFENSE
                        (Intervening Causes)

      Experian is informed and believes and thereon alleges that if Plaintiff

sustained any of the injuries alleged in the Complaint, there was an intervening,

superseding cause and/or causes leading to such alleged injuries and, as such, any

action on the part of Experian was not a proximate cause of the alleged injuries.




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                 THIRTEENTH AFFIRMATIVE DEFENSE
                  (Right to Assert Additional Defenses)

      Experian reserves the right to assert additional affirmative defenses at such

time and to such extent as warranted by discovery and the factual developments in

this case.

                            PRAYER FOR RELIEF

WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

(1)   That Plaintiff take nothing by virtue of the Complaint herein and that this

      action be dismissed in its entirety;

(2)   For costs of suit and attorneys’ fees herein incurred; and

(3)   For such other and further relief as the Court may deem just and proper.


Dated:       January 20, 2023                Respectfully submitted,


                                             /s/ Monique Eloi            -
                                             Monique Eloi
                                             Florida Bar No. 1025828
                                             Email: meloi@jonesday.com
                                             JONES DAY
                                             600 Brickell Avenue, Suite 3300
                                             Miami, FL 33131
                                             Telephone: (305) 714-9797

                                             Attorney for Defendant
                                             Experian Information Solutions, Inc.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 20, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served this day on counsel of record via transmission

of Notices of Electronic Filing generated by CM/ECF.


                                      /s/ Monique Eloi
                                      Monique Eloi




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